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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   Hunter Killer Productions, Inc. et al,   )   Case No.: 1:19-cv-00168-LEK-KJM
                                            )   (Copyright)
                     Plaintiffs,            )
      vs.                                   )   SUBMISSION OF REPORT OF
                                            )   SERVICE PER HAGUE
   Qazi Muhammad Zarlish, et al.            )   CONVENTION OF DEFENDANT
                                            )   PEBBLEBRIDGE TECHNOLOGIES,
                     Defendants.            )   LLP
                                            )
                                            )
                                            )

    SUBMISSION OF REPORT OF SERVICE PER HAGUE CONVENTION OF
          DEFENDANT PEBBLEBRIDGE TECHNOLOGIES, LLP


        Plaintiffs are submitting the Service Report from the Government of India,

  Ministry of Law & Justice indicating that Defendant Pebblebridge Technologies

  was served the Summons, Complaint and Scheduling Order on June 14, 2019.
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             DATED: Kailua-Kona, Hawaii, November 12, 2019.


                               CULPEPPER IP, LLLC


                               /s/ Kerry S. Culpepper
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